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 8
                                UNITED STATES DISTRICT COURT
 9
                              EASTERN DISTRICT OF CALIFORNIA
10
11     SECURITIES AND EXCHANGE                         Case No.
12     COMMISSION,
                                                       COMPLAINT
13                      Plaintiff,
14              vs.
15     JOSEPH BAYLISS and RONALD
16     ROACH,

17                      Defendants.

18
19   Plaintiff Securities and Exchange Commission (“SEC”) alleges:
20                                   JURISDICTION AND VENUE
21         1.         The Court has jurisdiction over this action pursuant to Sections 20(b),
22   20(d)(1) and 22(a) of the Securities Act of 1933 (“Securities Act”), 15 U.S.C. §§
23   77t(b), 77t(d)(1) & 77v(a), and Sections 21(d)(1), 21(d)(3)(A), 21(e) and 27(a) of the
24   Securities Exchange Act of 1934 (“Exchange Act”), 15 U.S.C. §§ 78u(d)(1),
25   78u(d)(3)(A), 78u(e) & 78aa(a).
26         2.         Defendants have, directly or indirectly, made use of the means or
27   instrumentalities of interstate commerce, of the mails, or of the facilities of a national
28   securities exchange in connection with the transactions, acts, practices and courses of

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 1   business alleged in this complaint.
 2         3.     Venue is proper in this district pursuant to Section 22(a) of the Securities
 3   Act, 15 U.S.C. § 77v(a), and Section 27(a) of the Exchange Act, 15 U.S.C. § 78aa(a)
 4   because certain of the transactions, acts, practices and courses of conduct constituting
 5   violations of the federal securities laws occurred within this district. Both Defendants
 6   committed many of the acts set forth in this Complaint in this district. For example,
 7   Bayliss sent commissioning certificates via email to Company S, which is located in
 8   this district, for distribution to investors. Likewise, Roach sent Accountant’s
 9   Compilation Reports via email to Company S.
10                                         SUMMARY
11         4.     This case involves fraudulent securities offerings and a massive Ponzi
12   scheme that raked in over $910 million in investor funds. This Ponzi scheme was
13   orchestrated by Individual 1 and Individual 2 through companies they controlled, and
14   which they used to enrich themselves at investors’ expense. The Defendants in this
15   action, Joseph Bayliss and Ronald Roach, each played an important role in this
16   scheme to sell investment opportunities offered by certain solar energy companies in
17   the business of making, leasing, and operating mobile solar generators (“Generators”)
18   -- investments that were touted as presenting gains in the form of tax benefits,
19   guaranteed lease payments, and the resulting profits from the operation of the
20   Generators. In reality, thousands of the purportedly profitable Generators were never
21   even manufactured, let alone put into use, and the vast majority of revenue to
22   investors came from investor money, not from actual lease payments. Bayliss
23   advanced the scheme by providing bogus technical certificates of inspection for
24   Generators he had never inspected -- and in many cases, for Generators that never
25   existed. Roach compiled financial statements, prepared by management, falsely
26   reporting that the business had real and significant revenue from real leases, lent the
27   imprimatur of his accounting firm to the bogus financials, and in some cases
28   disseminated them directly to investors. While investors were fleeced, Bayliss and

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 1   Roach each made millions off the scheme.
 2         5.     In 2011, Individual 1 and Individual 2 began selling investment contracts
 3   through their privately-held alternative energy companies Company S and Company
 4   D (collectively with Individuals 1 and 2 “the Company”). Through December 2018,
 5   the Company raised around $910 million from purchasers of the investment contracts.
 6   The Company designed the investments to take advantage of tax credits that were
 7   available to certain alternative energy related projects. To that end, investors
 8   purchased Generators from Company S and then immediately leased them to
 9   Company D. Company D was then supposed to sub-lease the Generators to end-
10   users. The Company touted itself as a major player in its industry, with thousands of
11   Generators in the field, lucrative contracts with big customers yielding a track record
12   of major revenue, and extensive experience in making and maintaining the
13   Generators and finding customers for them.
14         6.     That was all a sham. The Company had manufactured and put into
15   service far fewer Generators than it claimed, and made hardly any of its revenue from
16   leasing Generators. In fact, Company S did not actually manufacture about two-
17   thirds of the Generators that it purportedly sold to investors. Recent intensive efforts
18   by investors to locate the Generators have identified just 5,858 of the approximately
19   17,600 Generators for which the Company entered into investor contracts. Investors
20   paid hundreds of millions of dollars for Generators that never existed. And,
21   legitimate lease income from actual end-users of the Generators represented a tiny
22   fraction -- less than 5% -- of Company D’s revenue. The vast majority of Company
23   D’s revenue was comprised of investor funds transferred from Company S. In
24   reality, the vast majority of investor funds was not being used to manufacture, place
25   into service, and maintain the thousands of Generators that the Company was using as
26   the basis for investment contracts, but was instead being pilfered by Individuals 1 and
27   2 for their personal benefit, such as the purchase of luxury vehicles and real estate,
28   and used to make lease payments and distributions to earlier investors.

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 1         7.     Defendant Bayliss played a key role in the scheme by falsely certifying
 2   the existence of non-existent Generators. Bayliss claimed to be an independent
 3   engineer and signed a commissioning certificate for each Generator purportedly sold
 4   by Company S beginning in 2014, indicating that he had inspected the Generator and
 5   that it was in working order. Investors relied on these certificates and were required
 6   to release payments to Company S upon receiving them. In truth, Bayliss never laid
 7   eyes on the majority of the Generators for which he signed certificates.
 8         8.     Defendant Roach likewise played an integral role in the scheme by
 9   concealing the lack of legitimate lease revenue from investors. Roach is a certified
10   public accountant who provided tax and accounting services to the Company. Roach
11   knowingly issued “Accountant’s Compilation Reports,” that accompanied unaudited
12   financial statements for Company D that falsely stated that Company D generated
13   hundreds of millions of dollars in “Rental Income.” In reality, the overwhelming
14   majority of that “Revenue” consisted of transfers from Company S rather than lease
15   payments from end-users of the Generators. The reports Roach knowingly issued
16   also accompanied financial statements for Company S which hid the significant cash
17   transfers it made to Company D.
18         9.     As a result of the conduct alleged herein, Defendants have violated the
19   antifraud provisions of the Securities Act and the Exchange Act. The SEC brings this
20   action and seeks entry of permanent injunctions against Defendants as well as
21   disgorgement of ill-gotten gains and prejudgment interest thereon and civil penalties.
22                                   THE DEFENDANTS
23         10.    Joseph W. Bayliss is a resident of Martinez, California. Bayliss is the
24   owner of Bayliss Innovative Services, Inc. through which he is licensed as an
25   electrical and general building contractor.
26         11.    Ronald J. Roach is a resident of Walnut Creek, California. Roach is a
27   certified public accountant and the owner of Ronald J. Roach Accountancy
28   Corporation. He also hold Series 6, 7, 63 and 65 securities licenses and is a

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 1   registered investment adviser and a registered representative.
 2                         RELATED INDIVIDUALS AND ENTITIES
 3         12.       Company S is a California corporation headquartered in Benicia, CA. It
 4   was owned by Individual 1. Company S is not registered with the SEC in any
 5   capacity. It filed for bankruptcy protection in early 2019 and is currently in Chapter 7
 6   proceedings.
 7         13.       Company D is a California corporation headquartered in Benicia, CA. It
 8   was owned by Individual 2. Company D is not registered with the SEC in any
 9   capacity. It filed for bankruptcy protection in early 2019 and is currently in Chapter 7
10   proceedings.
11         14.       Individual 1 was a resident of Martinez, CA during the relevant time
12   period. In addition to owning Company S, Individual 1was the President and a
13   Director of Company S and the Vice President and a Director of Company D.
14         15.       Individual 2 was a resident of Martinez, CA during the relevant time
15   period. In addition to owning Company D, Individual 2 was the President, Secretary,
16   Treasurer, and a Director of Company D and the Secretary, Treasurer and a Director
17   of Company S.
18                                 FACTUAL ALLEGATIONS
19   A.    Background on the Company
20         16.       Individuals 1 and 2 are the owners and principals of Company S and
21   Company D. To investors, the Company claimed that it “design[ed], manufacture[d]
22   and lease[d] renewable energy products to serve the off-grid needs of a broad and
23   diverse marketplace – while providing investors with access to the renewable energy
24   asset class.”
25   B.    The Company Offerings
26                   (1)   The Solicitation of Investors
27         17.       Since at least 2011 and continuing to December 2018, the Company
28   offered securities to investors. The securities took the form of two types of

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 1   investment contracts: (1) Investment Fund Contracts and (2) Sale-Leaseback
 2   Contracts. Under both arrangements, the investors paid to purchase Generators from
 3   Company S, while simultaneously leasing them to Company D. Company D would
 4   then arrange to sub-lease the Generators to end-users. The investors expected to
 5   profit from the investments due to tax credits, depreciation on the Generators, and
 6   lease payments. Investors thus played an entirely passive role: the success of the
 7   venture, and thus the profits to investors and the Company, turned entirely on the
 8   efforts of the Company to make, maintain, market, and lease the Generators.
 9         18.    Over the course of the offerings, the Company raised approximately
10   $910 million in investor money. These deals had face values of more than $2.7
11   billion because investors in the Investment Fund Contracts financed approximately 70
12   percent of the amount of their investments through promissory notes.
13         19.    The Company, directly and indirectly, solicited investors through
14   brokers and salespeople using various methods, including email, conference calls and
15   in-person meetings. The Company offered and sold Investment Fund Contracts and
16   Sale-Leaseback Investments through interstate commerce to investors across the
17   United States.
18         20.    The Company marketed itself as having extensive experience and
19   capabilities in the renewable energy field and in executing successful transactions for
20   investors. For example, pitch-books for investors, which were prepared by a broker
21   working on behalf of the Company using information provided by the Company,
22   emphasized that the Company had thousands of Generators deployed and
23   manufacturing capabilities of 900 Generators per month. They also highlighted that
24   the Company had closed many prior investment funds with “headline” or “notable”
25   investors, including funds with fair market values near or over $100 million, and that
26   the “performance of each of the funds remains in good standing.” In addition, the
27   materials claimed the Company had “customer relationships with leading companies
28   in the telecommunications, entertainment and construction industries” and provided

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 1   case studies of the established leasing arrangements with many of those customers.
 2   Finally, certain of the pitch-books provided a “Summary of Investor Returns” with
 3   estimated internal rates of return ranging from 40 to as high as 50 percent.
 4                (2)     The Terms of the Investment Fund Contract Offerings
 5         21.    Investment Fund Contract investors executed a standard package of
 6   agreements, including: (i) a Limited Liability Company Agreement (“LLC
 7   Agreement”); (ii) a Solar Equipment Purchase Agreement (“Purchase Agreement”);
 8   (iii) a Secured Promissory Note (“Promissory Note”); and (iv) a Mobile Solar
 9   Equipment Lease (“Equipment Lease”) (together the “Investment Fund Contracts”).
10   The documents were executed at or around the same time, with Individual 1 signing
11   the Purchase Agreements on behalf of Company S and Individual 2 typically signing
12   the Equipment Leases on behalf of Company D. While the Investment Fund
13   Contracts for certain deals had minor variations in wording, they largely had the same
14   substantive terms.
15         22.    Under the terms of the LLC Agreement, an investor became the
16   “Investor Member” of the Investment Fund Limited Liability Company (“Investment
17   Fund”), an entity created specifically for the purpose of the investment. This
18   Investment Fund then purchased Generators from Company S at a price of $150,000
19   per Generator under the Solar Equipment Purchase Agreement. The Purchase
20   Agreement specified the total number of Generators being purchased as well as the
21   total purchase price. An Exhibit to the Purchase Agreement contained a blank space
22   for the Vehicle Identification Numbers (“VINs”) for the Generators or stated that
23   “VIN for each Generator to be Supplied at Delivery.” In exchange for the payment,
24   Company S agreed to deliver the Generators by a certain date or dates and warranted
25   “to Buyer that all Equipment shall be in good working order in conformity with the
26   Specifications for a period” of five or ten years.
27         23.    The delivery dates for tranches of Generators specified in the Purchase
28   Agreements were often scheduled in stages. Likewise, the Purchase Agreements

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 1   dictated that payments would be due to Company S in stages according to a schedule
 2   in part dictated by capital contributions being made by the investor under the terms of
 3   the LLC Agreement. Those capital contributions were contingent on the investor
 4   receiving confirmation that the Generators were “Placed in Service” as evidenced by
 5   an “IE [Independent Engineer] Certificate.”
 6         24.    Investors generally contributed about thirty percent of the purchase price
 7   in cash and financed the balance pursuant to a Promissory Note or Notes executed by
 8   the Investment Fund in favor of Company S. The Promissory Note was an exhibit to
 9   the Purchase Agreement. The Company told investors, and arranged for a tax
10   opinion letter from a law firm confirming, that the Generators qualified for the
11   Energy Credit under Internal Revenue Code § 48. That provision allows for a thirty
12   percent tax credit for certain energy-related investments. Thus, investors expected to
13   be able to take a tax credit for roughly the same amount as their cash contribution to
14   the investment.
15         25.    Under the Investment Fund Contracts, the Generator business was left
16   entirely to the Company. At the time the Investment Funds executed the Purchase
17   Agreement with Company S, the Investment Funds also executed the Mobile Solar
18   Equipment Lease with Company D for at least the first batch of Generators being
19   purchased. Depending on the size of the transaction, as additional tranches of
20   Generators were manufactured, additional Equipment Leases were executed. Under
21   the Equipment Leases, the Investment Funds leased their Generators to Company D
22   for terms ranging up to 120 months. The Equipment Leases provided that Company
23   D shall use “the Solar Equipment in a careful and proper manner” and “shall comply
24   with all laws, regulations and ordinances.” Moreover, the Equipment Leases stated
25   that Company D shall be “solely responsible for the maintenance and repair of the
26   Solar Equipment” and “shall ensure the Solar Equipment is operational and capable
27   of producing solar energy at all times.” The Equipment Leases required Company D
28   to “obtain, maintain and keep” insurance coverage on the Generators in the amount of

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 1   the replacement cost as well as “liability insurance.” In addition, the Equipment
 2   Leases required Company D to “promptly pay when due, all license fees, registration
 3   fees, sales taxes, use and property taxes, assessments, charges and other taxes”
 4   imposed upon the Generators.
 5         26.    The Equipment Leases further provided for a set amount of “Base Rent”
 6   to be paid to the Investment Fund in advance in monthly installments for the term of
 7   the lease as well as payment to the Investment Fund of “Additional Rent” or
 8   “Variable Rent” to the extent Company D received revenue from subleasing the
 9   Generators in excess of a certain amount. The amount of additional or variable rent
10   due to the Investment Fund varied depending on the deal and the calculation was
11   specified in the Equipment Lease.
12         27.    The Investment Fund Contracts were structured such that there was a
13   flow of money between the Investment Funds and the Company, all of which was
14   contingent on the Generators generating significant sub-lease revenue from legitimate
15   end-users. Company D owed monthly lease payments to the Investment Funds
16   purportedly to be paid with the sub-lease revenue it received from third-party
17   customers. The Investment Funds would then use the lease payments they received
18   from Company D under the terms of the Equipment Leases to make monthly
19   payments due to Company S under the terms of the Promissory Notes. Investors
20   expected several benefits under the arrangement, including the thirty percent energy
21   tax credit and the ability to claim significant depreciation on the Generators. In
22   addition, investors expected to receive yearly cash distributions from the Investment
23   Funds. In general, the LLC Agreements stated that “Distributable Cash,” defined as
24   the amount of cash from lease revenue remaining after loan payments and operating
25   expenses, would be paid out to investors on an annual basis. Based on financial
26   projections for the Investment Funds that were provided to investors, investors
27   expected to receive these cash distributions.
28         28.    From December 2011 through December 2018, the Company closed 34

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 1   Investment Fund Contracts, involving 13 investors, totaling about $2.57 billion in
 2   face value. The investors made roughly $759 million in cash contributions to their
 3   Investment Fund Contracts.
 4                (3)    The Terms of the Sale-Leaseback Contract Offerings
 5         29.    The Company began offering the second type of security, the Sale-
 6   Leaseback Contracts, since at least 2017. Investors in the Sale-Leaseback Contracts
 7   typically executed several agreements including: (i) a Sale Agreement; (ii) an
 8   Equipment Lease Agreement; and (iii) a Schedule (collectively the “Sale-Leaseback
 9   Contracts”). Individual 1 typically signed the Sale Agreement on behalf of Company
10   S, or in one instance on behalf of another affiliate of the Company, and Individual 2
11   typically signed the Lease Agreement and the Schedule on behalf of Company D.
12   While the Sale-Leaseback Contracts for certain deals had minor variations in
13   wording, they largely had the same substantive terms.
14         30.    The Sale-Leaseback Contracts differed from the Investment Fund
15   Contracts in that investors purchased the Generators outright from Company S, or in
16   one instance another affiliate of the Company, without executing a Promissory Note.
17   Under the Sale Agreement, investors paid $150,000 for each Generator they
18   purchased. The Generators were identified by VIN in an exhibit attached to that
19   Agreement. In exchange for the purchase price, Company S agreed to convey to the
20   investors “all right, title and interest in” the Generators.
21         31.    One Sale-Leaseback Contract transaction differed from the others in that
22   the investor purchased used Generators and paid $82,500 for each. As the Generators
23   were used, they did not qualify for the tax credit. However, the investment worked
24   the same as the other Sale-Leaseback Contracts with the investor immediately leasing
25   the Generators to Company D and being entirely reliant on Company D to maintain
26   and sub-lease the Generators.
27         32.    Just as was done in the Investment Fund Contracts, under the Sale-
28   Leaseback Contracts the investors immediately leased the Generators back to

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 1   Company D (or another affiliate of the Company) in return for monthly payments
 2   purportedly to be made from sub-lease payments. Under the Lease Agreement,
 3   Company D committed to keeping the Generators “in good repair” and operating
 4   condition and to “maintain” insurance coverage on the Generators as well as “liability
 5   insurance.” The Lease Agreement also required Company D to pay, or reimburse the
 6   investor for, all taxes, fees, and assessments imposed on the Generators.
 7             33.   Like the Investment Funds, most investors in the Sale-Leaseback
 8   Contracts received an “IE Certificate,” or “IE Commissioning Report,” for each new
 9   Generator that they purchased.
10             34.   The Schedule to the Lease Agreement set forth the term of the lease and
11   a set lease payment due to the investors from Company D each month. An
12   attachment to the Schedule again identified the Generators by VIN. In addition to the
13   monthly lease payments, most Sale-Leaseback Contract investors expected to be able
14   to take the 30 percent energy tax credit as well as depreciation on the Generators they
15   purchased. In fact, the Schedules in certain of the Sale-Leaseback Contracts
16   specifically referenced the energy tax credit and depreciation and required Company
17   D to use the Generators so as to remain eligible for those tax benefits. Based on the
18   combination of tax benefits and lease revenue, the Sale-Leaseback Contract investors
19   expected to earn a positive return and profit from these transactions.
20             35.   From 2017 through 2018, the Company completed seven Sale-
21   Leaseback Contracts, involving 4 investors, in transactions worth nearly $151
22   million.
23                   (4)   The Company’s Offerings Are Securities
24             36.   The Company offered and sold the Investment Fund Contracts and Sale-
25   Leaseback Contracts through interstate commerce to investors located in multiple
26   states.
27             37.   The Company’s Investment Fund Contracts and Sale-Leaseback
28   Contracts are securities in the form of investment contracts. They represented an

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 1   investment of money, in a common enterprise, with the expectation of profits to be
 2   derived from the efforts of a third party. Investors provided money to the Company
 3   for investment purposes. Because the terms of the Investment Fund Contracts and
 4   Sale-Leaseback Contracts tied the fortunes of the investors to those of the Company
 5   and its ability to manufacture the Generators and then sub-lease them at optimal rates,
 6   investors were investing in a common enterprise. And, because the terms of the
 7   Investment Fund Contracts and Sale-Leaseback Contracts made investors entirely
 8   dependent on the Company to manufacture, operate and maintain their purported
 9   Generators, the Company’s efforts were essential to the failure or success of the
10   common enterprise. Investors also had an expectation of profits from the tax benefits
11   and payment stream to be generated from the enterprise.
12   C.    Defendants Committed Deceptive Acts in Furtherance of the Fraud
13         38.    Unbeknownst to investors, the Company never manufactured the
14   majority of the Generators that it sold them. And, most of the lease revenue paid to
15   investors consisted of investor funds, rather than lease income from legitimate end-
16   users of the Generators. Bayliss and Roach each played a role in hiding these facts
17   from investors and perpetuating the Company’s fraud.
18                (1)   Bayliss Certified Generators that Did Not Exist and Altered
19                      VINs
20         39.    By design, investors never physically took possession of the Generators
21   that they purchased because the Generators were leased to Company D upon
22   purportedly being placed in service. Pursuant to the terms of the Purchase
23   Agreements and LLC Agreements, investors in the Investment Funds made payments
24   to Company S for the Generators in installments after receiving proof that the
25   Generators had been placed in service as evidenced by the delivery of the “IE
26   Certificate.” The LLC Agreements defined “IE Certificate” as “a certificate to be
27   issued by the Independent Engineer” with respect to the Generators “upon
28   achievement of Placement in Service.” Beginning in 2014, the LLC Agreements

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 1   further stated that “‘Independent Engineer’ means Joseph Bayliss of Bayliss
 2   Innovative Services.” Most Sale-Leaseback Contract investors also received these IE
 3   Certificates from Bayliss for the new Generators they purchased.
 4         40.    Individual 1 arranged for Bayliss and his firm to serve as the
 5   “Independent Engineer.” This arrangement deceived investors as Bayliss was neither
 6   independent nor an engineer. Bayliss holds general contractor and electrical licenses
 7   from the State of California, but he was never a licensed engineer. And, Bayliss has
 8   known Individuals 1 and 2 since high school. In fact, the Company and Individual 1
 9   hired Bayliss to perform various projects for the Company and other businesses
10   owned by Individual 1.
11         41.    The Company purported to sell more than 17,600 Generators to investors
12   from its inception. Bayliss executed IE Certificates, titled “IE Commissioning
13   Reports,” for nearly all of the Investment Funds and Sale-Leaseback Contract
14   investors that purchased Generators from 2014 through 2018. Those Investment
15   Funds and Sale-Leaseback Contract investors contracted to purchase more than
16   16,400 Generators. In thousands of instances, Bayliss signed IE Commissioning
17   Reports for Generators without inspecting them, and without any basis for making the
18   representations in the IE Certificates. This is because Company S only manufactured
19   a fraction of the Generators it purported to sell to the investors. Indeed, recent
20   intensive efforts by investors to locate those Generators turned up only 5,013
21   Generators of the more than 16,400 Generators for which Bayliss provided IE
22   Commissioning Reports.
23         42.    The IE Commissioning Reports described Bayliss as the “Independent
24   Engineer and Commissioner” and his signature line contained the title “Technical
25   Engineering Consultant,” along with a license number, which was actually the
26   number, or a slight variation of the number, of Bayliss’s state license as a contractor.
27   Each IE Commissioning Report identified a Generator by VIN and contained a
28   checklist of tests that Bayliss allegedly completed in assessing the Generator with an

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 1   “x” under the “yes” box for each test identified.
 2           43.   Bayliss also falsely attested that “I have taken the steps described during
 3   the commissioning of the above system and confirm that the system was installed in
 4   accordance with professional engineering practices and safety requirements; and that
 5   the system is ready and able to be used for the production of electricity.”
 6           44.   Of the over 16,400 Generators that Bayliss prepared IE Commissioning
 7   Reports for, more than 11,400 could not be located. Given that Bayliss signed the IE
 8   Commissioning Reports for these non-existent Generators without having inspected
 9   them, all of his statements in those reports were false and deceptive, and made by
10   Bayliss in furtherance of the fraud.
11           45.   Bayliss knew, or was reckless in not knowing, that Company S had not
12   manufactured thousands of Generators for which he signed IE Commissioning
13   Reports. Bayliss also knew, or was reckless in not knowing, that the IE
14   Commissioning Reports he signed were being sent to investors and were important to
15   them.
16           46.   Bayliss also profited from his work for the Company, earning over $2.4
17   million between January 2013 and December 2018. Over $1,020,000 of these
18   payments were made to Bayliss directly by the Investment Funds or the Sale-
19   Leaseback Contract investors, mostly for his work in issuing the IE Commissioning
20   Reports.
21           47.   At times, Company S sold the same Generator to different Investment
22   Funds or Sale-Leaseback Contract investors. Investors were unaware that their
23   supposed Generators were being resold, or that they were purchasing used Generators
24   to which someone else had an ownership claim. As part of these efforts, the
25   Company had to remove the VIN stickers from the Generators because each one had
26   a unique VIN. After removing the old VIN sticker from a Generator, the Company
27   would replace it with a new VIN sticker in an effort to make it appear that the
28   Generator was new. Bayliss helped the Company remove and replace VIN stickers.

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 1   Bayliss knew this was being done in an attempt to dupe investors into believing that
 2   the Generators were new.
 3               (2)    Roach Issued Deceptive Compilation Reports
 4         48.   Lease revenue from end-users of the Generators was critical to the
 5   success of the investments because it was supposed to provide the funds that
 6   Company D needed to make lease payments to the Investment Funds and Sale-
 7   Leaseback Contract investors. Although Company D purported to be earning
 8   millions each month in lease revenue from end-users of the Generators, bank records
 9   demonstrate that Company D generated minimal lease revenue from sub-leases to
10   end-users. In fact, the vast majority of funds flowing into Company D’s bank
11   accounts consisted of transfers of investor funds from Company S.
12         49.   For example, during the period of January 2013 through December
13   2018, a total of about $409,930,000 was deposited to Company D’s bank accounts.
14   Of that amount, approximately $383,347,000 -- or 93.5% -- consisted of transfers
15   from Company S’s bank accounts. And, another $8,268,000 -- or 2.0% -- consisted
16   of transfers from the bank accounts of different Investment Funds. At most,
17   $18,316,000 -- or 4.5% -- of the deposits to Company D’s bank accounts during the
18   time period represented sub-lease payments from end-users of the Generators.
19         50.   But, during this period, Company D paid about $347,800,000 to various
20   Investment Funds and Sale-Leaseback Contract investors, most of which took the
21   form of “lease payments” owed under the operative Equipment Lease Agreements.
22   Accordingly, Company D’s payments were not funded by legitimate sub-lease
23   revenue, but instead by investor funds cycled through Company S.
24         51.   Roach played a key role in misleading investors about the actual amount
25   of lease revenue generated from end-users of the Generators and the true source of
26   the funds coming into Company D. Prospective investors routinely requested
27   financial statements from Company D and Company S before investing. In response,
28   the Company often provided investors with financial statements. Roach issued

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 1   “Accountants’ Compilation Reports” for Company D and Company S covering
 2   various periods between 2011 through July 2018. Roach signed these reports on the
 3   letterhead of his firm, Ronald J. Roach Accountancy Corporation. The financial
 4   statements accompanying Roach’s compilation reports included a statement of
 5   income in each, which Roach knew contained false and misleading information. The
 6   accountant who issues the compilation report accompanying the financial statement
 7   must make himself familiar with the company’s business and processes, and must not
 8   issue a compilation report on financial statements that he knows to contain false
 9   information.
10         52.      At the time Roach was issuing these reports, he knew that Company D
11   was generating minimal lease revenue from end-users of Generators. Roach also
12   knew that Company S infused Company D with cash each month in order to support
13   the lease payments due to the Investment Funds and Sale-Leaseback Contract
14   investors, with the cash coming mostly from investor funds. In addition, he was
15   aware that investors were led to believe that Company D generated sufficient lease
16   revenue from end-users of the Generators to pay its own lease payment obligations to
17   the Investment Funds and Sale-Leaseback Contract investors each month.
18         53.      In total, the financial income statements for Company D accompanying
19   the compilation reports issued by Roach falsely stated that Company D generated
20   hundreds of millions of dollars of revenues in “Rental Income.” In reality, the
21   overwhelming majority of purported “Rental Income” consisted of intercompany
22   transfers from Company S. Company D needed the cash transfers from Company S
23   in order to cover its lease payment obligations to the Investment Funds and Sale-
24   Leaseback Contract investors because it was not generating sufficient “Rental
25   Income” from end-users of the Generators in order to cover those obligations. The
26   income statements were intended to mislead investors and potential investors into
27   believing that Company D made hundreds of millions of dollars in “Rental Income”
28   from end-users of the Generators from 2011 through 2018.

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 1         54.    Similarly, the various compilation reports for Company S that Roach
 2   issued also accompanied financial statements that contained false information. The
 3   cash infusions of hundreds of millions of dollars from Company S to Company D
 4   were hidden in the “Direct Costs” category of Company S’s income statements. In
 5   reality, these payments had nothing to do with the costs of manufacturing the
 6   Generators. Roach knew this categorization was wrong and he knew that Company S
 7   categorized the payments in this manner to conceal from investors the fact that
 8   Company S funded Company D’s “Rental Income.”
 9         55.    Roach knew that the false financial statements and the compilation
10   reports that he issued thereon were being provided to investors, often at the investors’
11   request. In fact, Roach at times sent the financial statements and his accompanying
12   reports directly to investors via email. He never told investors that information
13   contained in the financial statements was false or inaccurate.
14         56.    Roach profited from his work for the Company over the years, receiving
15   about $2.9 million between January 2013 and December 2018.
16                              FIRST CLAIM FOR RELIEF
17                     Fraud in Connection With the Sale of Securities
                       Violations of Section 10(b) of the Exchange Act
18
                               and Rule 10b-5(b) Thereunder
19                               (against Defendant Bayliss)
20         57.    The SEC realleges and incorporates by reference paragraphs 1 through
21   56 above.
22         58.    Defendant Bayliss, by engaging in the conduct described above, directly
23   or indirectly, in connection with the purchase or sale of a security, by the use of
24   means or instrumentalities of interstate commerce, of the mails, or of the facilities of
25   a national securities exchange, with scienter, made untrue statements of a material
26   fact or omitted to state a material fact necessary in order to make the statements
27   made, in the light of the circumstances under which they were made, not misleading.
28         59.    By engaging in the conduct described above, Defendant Bayliss,

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 1   violated, and unless restrained and enjoined will continue to violate, Section 10(b) of
 2   the Exchange Act, 15 U.S.C. § 78j(b), and Rule 10b-5(b) thereunder, 17 C.F.R. §
 3   240.10b-5(b).
 4                             SECOND CLAIM FOR RELIEF
 5                        Fraud in the Offer and Sale of Securities
                      Violations of Section 17(a)(2) of the Securities Act
 6
                           (against Defendants Bayliss and Roach)
 7
 8         60.    The SEC realleges and incorporates by reference paragraphs 1 through
 9   56 above.
10         61.    Defendants Bayliss and Roach, by engaging in the conduct described
11   above, in the offer or sale of securities by the use of means or instruments of
12   transportation or communication in interstate commerce or by use of the mails,
13   directly or indirectly, with scienter, obtained money or property by means of untrue
14   statements of a material fact or by omitting to state a material fact necessary in order
15   to make the statements made, in light of the circumstances under which they were
16   made, not misleading.
17         62.    By engaging in the conduct described above, Defendants Bayliss and
18   Roach, violated, and unless restrained and enjoined will continue to violate, Section
19   17(a)(2) of the Securities Act, 15 U.S.C. § 77q(a)(2).
20                              THIRD CLAIM FOR RELIEF
21                     Fraud in Connection With the Sale of Securities
                       Violations of Section 10(b) of the Exchange Act
22
                           and Rules 10b-5(a) and (c) Thereunder
23                        (against Defendants Bayliss and Roach)
24         63.    The SEC realleges and incorporates by reference paragraphs 1 through
25   56 above.
26         64.    Defendants Bayliss and Roach, by engaging in the conduct described
27   above, directly or indirectly, in connection with the purchase or sale of a security, by
28   the use of means or instrumentalities of interstate commerce, of the mails, or of the
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 1   facilities of a national securities exchange, with scienter:
 2                a.     employed devices, schemes, or artifices to defraud; or
 3                b.     engaged in acts, practices, or courses of business which operated
 4                       or would operate as a fraud or deceit upon other persons.
 5         65.    By engaging in the conduct described above, Defendants Bayliss and
 6   Roach violated, and unless restrained and enjoined will continue to violate, Section
 7   10(b) of the Exchange Act, 15 U.S.C. § 78j(b), and Rules 10b-5(a) and (c)
 8   thereunder, 17 C.F.R. §§ 240.10b-5(a) & 240.10b-5(c).
 9                             FOURTH CLAIM FOR RELIEF
10                        Fraud in the Offer and Sale of Securities
                 Violations of Sections 17(a)(1) and (3) of the Securities Act
11
                          (against Defendants Bayliss and Roach)
12
13         66.    The SEC realleges and incorporates by reference paragraphs 1 through
14   56 above.
15         67.    Defendants Bayliss and Roach, by engaging in the conduct described
16   above, in the offer or sale of securities by the use of means or instruments of
17   transportation or communication in interstate commerce or by use of the mails,
18   directly or indirectly:
19                a.     with scienter, employed devices, schemes, or artifices to defraud;
20                       or
21                b.     engaged in transactions, practices, or courses of business which
22                       operated or would operate as a fraud or deceit upon the purchaser.
23         68.    By engaging in the conduct described above, Defendants Bayliss and
24   Roach violated, and unless restrained and enjoined will continue to violate, Sections
25   17(a)(1) and (3) of the Securities Act, 15 U.S.C. § 77q(a)(1) and (3).
26                                  PRAYER FOR RELIEF
27         WHEREFORE, the SEC respectfully requests that the Court:
28

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 1                                               I.
 2           Issue judgments, in forms consistent with Fed. R. Civ. P. 65(d), permanently
 3   enjoining Defendants, and their agents, servants, employees, and attorneys, and those
 4   persons in active concert or participation with any of them, who receive actual notice
 5   of the judgment by personal service or otherwise, and each of them, from violating
 6   Section 17(a) of the Securities Act, 15 U.S.C. § 77q(a), Section 10(b) of the
 7   Exchange Act, 15 U.S.C. §§ 78j(b), and Rule 10b-5 thereunder, 17 C.F.R. § 240.10b-
 8   5.
 9                                               II.
10           Upon motion of the Commission, order Defendants to disgorge all ill-gotten
11   gains they received, together with prejudgment interest thereon.
12                                              III.
13           Upon motion of the Commission, order Defendants to pay civil penalties under
14   Section 20(d) of the Securities Act, 15 U.S.C. § 77t(d), and Section 21(d)(3) of the
15   Exchange Act, 15 U.S.C. § 78u(d)(3).
16                                              IV.
17           Retain jurisdiction of this action in accordance with the principles of equity and
18   the Federal Rules of Civil Procedure in order to implement and carry out the terms of
19   all orders and decrees that may be entered, or to entertain any suitable application or
20   motion for additional relief within the jurisdiction of this Court.
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 1                                            V.
 2         Grant such other and further relief as this Court may determine to be just and
 3   necessary.
 4
 5    Dated: October 22, 2019
 6                                                 /s/ Tom Bednar
 7                                                 Thomas Bednar
                                                   Dean M. Conway
 8                                                 Sarra Cho
 9                                                 Christopher Nee
                                                   Attorneys for Plaintiff
10                                                 Securities and Exchange Commission
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